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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              NORTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,

v.                                                     Case No. 96-CR-20063-BC

JOHNNIE JONES, III,

              Defendant.
                                                  /

                  ORDER HOLDING MATTER IN ABEYANCE AND
                DIRECTING SUBMISSION OF AN UPDATED REPORT

       This matter is before the court on the stipulation of the parties for a possible

reduction of sentence pursuant to 18 U.S.C. § 3582(c)(2) for Defendant Johnnie Jones,

III. The court has reviewed the stipulation of the parties and is not presently inclined to

grant a reduction. The court will, however, revisit this matter in late 2009, taking into

consideration, among other factors, Defendant’s future conduct. Accordingly,

       IT IS ORDERED that this matter is HELD IN ABEYANCE pending further order of

the court. IT IS FURTHER ORDERED that the probation department is DIRECTED to

prepare and submit an updated § 1.B1.10 Report on December 4, 2009.



                                           s/Robert H. Cleland
                                          ROBERT H. CLELAND
                                          UNITED STATES DISTRICT JUDGE

Dated: February 13, 2009
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I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, February 13, 2009, by electronic and/or ordinary mail.

                                                          s/Lisa Wagner
                                                         Case Manager and Deputy Clerk
                                                         (313) 234-5522




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